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United States Distnct Court ,,,;, i/i'@_
WESTERN DISTRICT oF TENNESSEE _ é;'>@“ 33
Eastern Division ur.;§,,@/`;O}</-»i;)
1 4:,_"/‘).
JEREMY BENJAMIN GIESKE JUDGMENT |N A ClVlL CASE
V.
GLEN TURNER, era cAsE NuivisER; 04-1339-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been renderedl

|T lS ORDERED AND ADJUDGED that in compliance With the order entered in
the above-styled matter on 06/30/05, this case is hereby DlSl\/I|SSED for failure to
exhaust administrative remedies lt is further CERTlFlED that, pursuant to 28 U.S.C. §
1915(a)(3), any appeal by plaintiff is not taken in good faith and the plaintiff may not
proceed on appeal in forma pauperis |f the plaintiff Wishes to take advantage of the
installment procedures for paying the appellate filing fee, he must comply with the
procedures set out in l\/|cGore v. Wiqo|esworth, 114 F.3d 601, 610-11 (6th Cir. 1997)
and 28 U.S.C. § 1915(b).

APPROVED:

£\.Q»¢M

JAM D. TODD
UNITED STATES DISTRICT JUDGE

THOMAS M. GOULD

 

 

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T,S)CS BY; {_::§%QAC§K
DATE‘ ' DEPUTY'CLERK

This document entered on the docket sheet in compliance @
with Ruie 58 and/or 79(3) FRCP on (§7~ 05 ‘ 03 .

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:04-CV-01339 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

Jeremy Benjamin Gieske

HARDEMAN COUNTY CORRECTIONAL FACILITY
339800

Whiteville, TN 38075

Honorable J ames Todd
US DISTRICT COURT

